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 11

 12   Special Counsel to Richard A. Marshack,
      Chapter 11 Trustee
 13
                             UNITED STATES BANKRUPTCY COURT
 14
               CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 15

 16   In re:                                          Case No. 8:23-bk-10571-SC
 17   THE LITIGATION PRACTICE                         Chapter 11
      GROUP P.C.,
 18                                                   Adv. Proc. No. ______________
                   Debtor.
 19
                                                      COMPLAINT FOR:
 20
      RICHARD A. MARSHACK,                            (1) AVOIDANCE, RECOVERY, AND
 21   Chapter 11 Trustee,                             PRESERVATION OF 2-YEAR
                                                      ACTUAL FRAUDULENT
 22                                  Plaintiff,       TRANSFERS;

 23                             v.                    (2) AVOIDANCE, RECOVERY, AND
                                                      PRESERVATION OF 2-YEAR
 24   JGW SOLUTIONS, LLC,                             CONSTRUCTIVE FRAUDULENT
                                                      TRANSFERS;
 25                                  Defendant.
                                                      (3) AVOIDANCE, RECOVERY, AND
 26                                                   PRESERVATION OF 4-YEAR
                                                      ACTUAL FRAUDULENT
 27                                                   TRANSFERS;

 28                                                   (4) AVOIDANCE, RECOVERY, AND
                                                      PRESERVATION OF 4-YEAR

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                                                    CONSTRUCTIVE FRAUDULENT
  1                                                 TRANSFERS;
  2                                                 (5) AVOIDANCE, RECOVERY AND
                                                    PRESERVATION OF
  3                                                 PREFERENTIAL TRANSFER MADE
                                                    WITHIN NINETY DAYS OF THE
  4                                                 PETITION DATE; AND
  5                                                 (6) TURNOVER
  6
                                                    Judge: Hon. Scott C. Clarkson
  7

  8

  9         For his Complaint for (1) Avoidance, Recovery, and Preservation of 2-Year
 10   Actual Fraudulent Transfers; (2) Avoidance, Recovery, and Preservation of 2-Year
 11   Constructive Fraudulent Transfers; (3) Avoidance, Recovery, and Preservation of 4-
 12   Year Actual Fraudulent Transfers; (4) Avoidance, Recovery, and Preservation of 4-
 13   Year Constructive Fraudulent Transfers; (5) Avoidance, Recovery, and Preservation
 14   of Preferential Transfer; and (6) Turnover (“Complaint”), plaintiff Richard A.
 15   Marshack, the Chapter 11 Trustee (“Trustee” or “Plaintiff”) for the bankruptcy estate
 16   (“Estate”) of debtor The Litigation Practice Group P.C. (“Debtor” or “LPG”) in the
 17   above-captioned bankruptcy case (“Bankruptcy Case”), alleges and avers as follows:
 18      STATEMENT OF JURISDICTION, NATURE OF PROCEEDING, AND
 19                                         VENUE
 20          1.   This Court has jurisdiction over this action pursuant to 28 U.S.C. §§
 21   157(b)(2)(A), (E), (H) and (O), 1334(b), and General Order No. 13-05 of the District
 22   Court for the Central District of California because this is a core proceeding arising
 23   in and/or related to the Bankruptcy Case, which is a case under Chapter 11 of Title
 24   11 of the United States Code (“Bankruptcy Code”), and which is pending in the
 25   United States Bankruptcy Court for the Central District of California, Santa Ana
 26   Division (“Bankruptcy Court”).
 27          2.   Regardless of whether this proceeding is core, non-core, or otherwise,
 28   Plaintiff consents to the entry of a final order and judgment by the Bankruptcy Court.


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  1          3.    Defendant is notified that Rule 7008 of the Federal Rules of Bankruptcy
  2   Procedure requires Defendant to plead whether consent is given to the entry of a
  3   final order and judgment by the Bankruptcy Court.
  4          4.    Venue of this adversary proceeding properly lies in this judicial district
  5   pursuant to 28 U.S.C. § 1409(a) because this proceeding is related to Debtor’s pending
  6   Bankruptcy Case.
  7                                      THE PARTIES
  8         5.     Plaintiff Richard A. Marshack is the duly appointed, qualified, and acting
  9   Chapter 11 Trustee of Debtor’s Estate.
 10         6.     Debtor is, and at all material times was, a professional corporation
 11   organized, existing, and in good standing under the laws of the State of California,
 12   with its principal place of business in Tustin, California.
 13         7.     Defendant JGW Solutions LLC (“Defendant”) is, and at all material
 14   times represented that it was, a limited liability company, existing, under the laws of
 15   the State of California.
 16         8.     Defendant may be served by first class mail postage prepaid upon its
 17   registered agent Joyce Yi or Sandra Menijivar at 101 N. Brand Blvd. 11 th Floor
 18   Glendale, California 91203.
 19                               GENERAL ALLEGATIONS
 20                A.     The Bankruptcy Case
 21         9.     On March 20, 2023 (“Petition Date”), Debtor filed a voluntary petition
 22   for relief under Chapter 11 of Title 11 of the United States Code, commencing the
 23   Bankruptcy Case.
 24         10.    The Office of the United States Trustee (“UST”) filed its Motion by
 25   United States Trustee to Dismiss or Convert Case Pursuant to 11 U.S.C. § 1112(b)
 26   [Bankr. Docket No. 21] and creditors Debt Validation Fund II, LLC; MC DVI Fund
 27   1, LLC; and MC DVI Fund 2, LLC filed the Motion by DVF and MC DVI to Dismiss
 28   Chapter 11 Case Pursuant to 11 U.S.C. §§ 105, 305, 349, & 1112, or in the

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  1   Alternative Convert This Case to Chapter 7 or Appoint a Trustee [Bankr. Docket No.
  2   44]. On May 4, 2023, the Court entered its Order Directing United States Trustee to
  3   Appoint Chapter 11 Trustee [Bankr. Docket No. 58].
  4           11.   Pursuant to the Acceptance of Appointment as Chapter 11 Trustee
  5   [Bankr. Docket No. 63], on May 8, 2023, Trustee accepted his appointment as the
  6   Chapter 11 Trustee in the Bankruptcy Case, and he continues to serve in this capacity
  7   at this time. The Court approved the Trustee’s appointment in its Order Approving
  8   the U.S. Trustee’s Application for the Appointment of a Chapter 11 Trustee [Docket
  9   No. 65].
 10           12.   Trustee was not appointed until after events of the case and, therefore,
 11   bases these allegations on information and belief. Soo Park v. Thompson, 851 F.3d
 12   910, 928 (9th Cir. 2017) ("The Twombly plausibility standard . . . does not prevent a
 13   plaintiff from pleading facts alleged upon information and belief where the facts are
 14   peculiarly within the possession and control of the defendant or where the belief is
 15   based    on   factual   information    that       makes   the   inference   of   culpability
 16   plausible."); Miller v. City of Los Angeles, 2014 U.S. Dist. LEXIS 198871, 2014 WL
 17   12610195, at *5 (C.D. Cal. Aug. 7, 2014) (recognizing that the plaintiff's "information
 18   and belief" pleading was allowed and "necessary at times"); see also Mireskandari v.
 19   Daily Mail and General Trust PLC, 2013 U.S. Dist. LEXIS 194437, 2013 WL
 20   12129642, at *4 (C.D. Cal. July 31, 2013) ("The Federal Rules of Civil Procedure
 21   allow parties to plead facts on 'information and belief' if the facts 'will likely have
 22   evidentiary support after a reasonable opportunity for further investigation or
 23   discovery.'" (citations omitted)).
 24           13.   Plaintiff brings this action solely in his capacity as the Chapter 11 Trustee
 25   for the benefit of Debtor’s Estate and its creditors.
 26           B.    LPG
 27           14.   LPG operated a law firm for consumers across the country who sought
 28   assistance in contesting or resolving debts they would identify.

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  1          15.   The consumers would pay LPG over a period of time via monthly debits
  2   from their bank accounts.
  3          16.   The monthly payments were meant to cover all legal services LPG
  4   provided to the consumers including validation of the debts, review of documents to
  5   determine enforceability, and court appearances to halt lawsuits to obtain judgments.
  6          17.   In certain instances, LPG would file a lawsuit in an effort to eliminate a
  7   disputed debt or to prosecute affirmative claims held by the consumers.
  8          18.   LPG mismanaged the consumers’ monthly payments.
  9          19.   To obtain consumer clients, LPG contracted with marketing companies,
 10   who engaged in illegal capping.
 11          20.   The marketing companies would advertise to or call to solicit them to
 12   become clients LPG.
 13          21.   The marketing affiliate went so far as to assist with the execution of an
 14   engagement letter between the consumer and LPG.
 15          22.   In exchange, LPG agreed to pay the marketing affiliates a percentage the
 16   monthly payments collected by LPG from the consumers.
 17          23.   Because LPG received payments from consumers over time, it often
 18   sought financing by borrowing against its future cash flows. This borrowing was not
 19   only used to finance operations at LPG, but also to pay the fees owed to the marketing
 20   companies for providing the client referrals.
 21          24.   Many of the documents executed in connection with such financing
 22   described the transactions as account receivable purchase agreements.
 23          C.    Defendant
 24          25.   Defendant was one of the marketing companies that procured clients for
 25   LPG.
 26          26.   LPG agreed to pay, and in fact paid, Defendant a portion of the monthly
 27   payments received from consumers referred by Defendant.
 28   ///

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  1         27.    Defendant also entered into agreements pursuant to which it purported
  2   to purchase accounts receivable from LPG. Pursuant to these agreements, Debtor
  3   purported to sell to Defendant a portion of its income stream.
  4                i.    Affiliate Agreement
  5         28.    Based upon the Trustee’s review of the banking transactions between the
  6   Defendant and Debtor, Debtor entered into an affiliate agreement with Defendant
  7   (“Affiliate Agreement”). A true and accurate copy of the summary of the banking
  8   transaction history is attached as Exhibit 1 and incorporated herein (“Transaction
  9   History”).
 10         29.    Based upon the Trustee’s review of the Transaction History, the Affiliate
 11   Agreement provides the Defendant owns and operates a system of generating leads
 12   consisting of consumers interested in the legal services offered by LPG.
 13         30.    Pursuant to the Affiliate Agreement, Defendant generated leads
 14   consisting of consumers interested in the legal services offered by LPG and referred
 15   those consumers to Debtor.
 16         31.    Defendant went so far as to assist with the execution of an engagement
 17   letter with the consumer.
 18         32.    In exchange for the referrals, Debtor paid Defendant on a weekly basis.
 19   See Transaction History.
 20         33.    The Affiliate Agreement violates Sections 6151 and 6155 of the
 21   California Business and Professional Code, which prohibit referrals of potential
 22   clients to attorneys unless registered with the State Bar of California. CAL. BUS. &
 23   PROF. CODE § 6155. “Referral activity” includes “any entity ‘which, in person,
 24   electronically, or otherwise, refers the consumer to an attorney or law firm not
 25   identified’ in the advertising.” Jackson v. LegalMatch.com, 42 Cal. App. 5th 760, 775
 26   (2019). A referral includes receiving information from potential clients and sending
 27   that information to lawyers, even when the advertiser does not advertise the name of
 28   ///

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  1   the attorneys and the clients do not clear the name of the potential attorney after the
  2   referral occurred. Id.
  3         34.    Further, if any effect of an agreement is to accomplish an unlawful
  4   purpose, the agreement may be declared illegal regardless of the intention of the
  5   parties. Stockton Morris Plan Co. v. Cal. Tractor & Equip. Corp., 112 Cal. App. 2d
  6   684, 690 (1952) (citing Fewel & Dawes, Inc. v. Pratt, 17 Cal. 2d 85, 91 (1941)). This
  7   remains true regardless of whether the contract has been performed. Stevens v. Boyes
  8   Hot Springs Co., 113 Cal. App. 479, 483 (1931) (A contract by a corporation to
  9   purchase its own stock has the effect of illegally withdrawing and paying to a
 10   stockholder a part of the capital stock of the corporation and is illegal and void,
 11   regardless of the fact that the contract is fully performed by the sellers and partially
 12   performed by the corporation.); Mansfield v. Hyde, 112 Cal. App. 2d 133, 139 (1952),
 13   overruled, Fomco, Inc. v. Joe Maggio, Inc., 8 Cal. Rptr. 459 (1960) (Where object of
 14   statute requiring licenses is to prevent improper persons from engaging in particular
 15   activity, or is for purpose of regulating occupation or business for protection of public,
 16   imposition of penalty amounts to prohibition against engaging in occupation or
 17   business without license, and contract made by unlicensed person in violation of
 18   statute is invalid.); Firpo v. Murphy, 72 Cal. App. 249, 252 (1925) (A contract to pay
 19   commissions to a real estate broker is illegal and he is not entitled to recover thereon
 20   where he fails to secure the license required by law to carry on his business.).
 21         35.    Because the Affiliate Agreement violates federal and state law, it is void,
 22   unenforceable, and subject to avoidance as fraudulent. Any alleged consideration
 23   provided to Debtor under the Affiliate Agreements was unlawful.
 24         36.    Unlawful consideration is that which is: “(1) contrary to an express
 25   provision of law; (2) contrary to the policy of express law, though not expressly
 26   prohibited; or (3) otherwise contrary to good morals.” Cal. Civ. Code § 1667. “If any
 27   part of a single consideration for one or more objects, or of several considerations for
 28   a single object, is unlawful, the entire contract is void.” Cal. Civ. Code § 1608.

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  1                ii.   Account Receivable Purchase Agreements
  2         37.    On or about November 7, 2022, Defendant entered into an Account
  3   Receivable Purchase Agreement with Debtor (“ARPA 1”). A true and accurate copy
  4   of ARPA 1 is attached here as Exhibit 2 and incorporated here.
  5         38.    On or about November 17, 2022, Defendant entered into an Account
  6   Receivable Purchase Agreement with Debtor (“ARPA 2”). A true and accurate copy
  7   of ARPA 2 is attached here as Exhibit 3 and incorporated here.
  8         39.    On or about January 23, 2023, Defendant entered into an Account
  9   Receivable Purchase Agreement with Debtor (“ARPA 3”). A true and accurate copy
 10   of ARPA 3 is attached here as Exhibit 4 and incorporated here.
 11         40.    On or about February 28, 2023, Defendant entered into an Account
 12   Receivable Purchase Agreement with Debtor (“ARPA 4”). A true and accurate copy
 13   of ARPA 4 is attached here as Exhibit 5 and incorporated here.
 14         41.    On or about March 31, 2023, Defendant entered into an Account
 15   Receivable Purchase Agreement with Debtor (“ARPA 5”). A true and accurate copy
 16   of ARPA 4 is attached here as Exhibit 6 and incorporated here.
 17         42.    ARPA 1, ARPA 2, ARPA 3, ARPA 4, and ARPA 5 are referred to
 18   collectively hereinafter as the “ARPA Agreements.”
 19         43.    Pursuant to the ARPA Agreements, Debtor purported to sell Defendant
 20   streams of monthly payments from consumers that were supposed to be held in trust
 21   until earned. See ARPA Agreements.
 22         44.    By entering into the ARPA Agreements, Debtor and Defendant violated
 23   federal and state law by selling unearned legal fees or funds there were supposed to
 24   be held in trust or used for the benefit of consumers.
 25         45.    The effect of the ARPA Agreements was to accomplish an unlawful
 26   purpose. Thus, agreement may be declared illegal regardless of the intention of the
 27   parties. Stockton Morris Plan Co. v. Cal. Tractor & Equip. Corp., 112 Cal. App. 2d
 28   684, 690 (1952) (citing Fewel & Dawes, Inc. v. Pratt, 17 Cal. 2d 85, 91 (1941)). This

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  1   remains true regardless of whether the contract has been performed. Stevens v. Boyes
  2   Hot Springs Co., 113 Cal. App. 479, 483 (1931) (A contract by a corporation to
  3   purchase its own stock has the effect of illegally withdrawing and paying to a
  4   stockholder a part of the capital stock of the corporation and is illegal and void,
  5   regardless of the fact that the contract is fully performed by the sellers and partially
  6   performed by the corporation.); Mansfield v. Hyde, 112 Cal. App. 2d 133, 139 (1952),
  7   overruled, Fomco, Inc. v. Joe Maggio, Inc., 8 Cal. Rptr. 459 (1960) (Where object of
  8   statute requiring licenses is to prevent improper persons from engaging in particular
  9   activity, or is for purpose of regulating occupation or business for protection of public,
 10   imposition of penalty amounts to prohibition against engaging in occupation or
 11   business without license, and contract made by unlicensed person in violation of
 12   statute is invalid.); Firpo v. Murphy, 72 Cal. App. 249, 252 (1925) (A contract to pay
 13   commissions to a real estate broker is illegal and he is not entitled to recover thereon
 14   where he fails to secure the license required by law to carry on his business.).
 15         46.    Because the ARPA Agreements violate federal and state laws, they are
 16   void, unenforceable, and subject to avoidance as fraudulent. Any alleged
 17   consideration provided to Debtor under the ARPA Agreements was unlawful.
 18         47.    Unlawful consideration is that which is: “(1) contrary to an express
 19   provision of law; (2) contrary to the policy of express law, though not expressly
 20   prohibited; or (3) otherwise contrary to good morals.” Cal. Civ. Code § 1667. “If any
 21   part of a single consideration for one or more objects, or of several considerations for
 22   a single object, is unlawful, the entire contract is void.” Cal. Civ. Code § 1608.
 23                D.     Payments to Defendant
 24         48.    During the applicable reach-back period, Debtor paid Defendant the sum
 25   of at least $621,090.91 between March 2022 and March 2023 (“Transfers”). See
 26   Transaction History.
 27   ///
 28   ///

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  1                  E.     LPG’s Prepetition Creditors
  2          49.     Debtor was insolvent when each Transfer was made. This insolvency is
  3   evidenced in part by the fact that 14 separate UCC-1 statements were of record
  4   securing debts of the Debtor as of September 1, 2022. These statements remained
  5   unreleased as of the Petition Date. These statements either reflected secured liens
  6   against the Debtor’s assets then owned or thereafter acquired, or provided evidence
  7   of the assignment or sale of substantial portions of the Debtor’s future income.
  8          50.     When the Transfer were made, these prior UCC-1 statements secured the
  9   repayment of the following claimed amounts that are currently known to Trustee and
 10   are allegedly owed by the Debtor: (i) $2,374,004.82 owed to Fundura Capital Group
 11   as evidenced by Proof of Claim No. 335 purportedly secured by a UCC statement
 12   filed on or about May 19, 2021; (ii) approximately $15 million dollars owed to MNS
 13   Funding, LLC as evidenced by Proof of Claim No. 1060 purportedly secured by a
 14   UCC statement filed on or about May 28, 2021; (iii) approximately $5,000,000 owed
 15   to Azzure Capital, LLC as evidenced by Proof of Claim No. 127 secured by a UCC
 16   statement filed on or about May 28, 2021; and (iv) approximately $1.5 million dollars
 17   owed to Diverse Capital, LLC purportedly secured by UCC statements filed on or
 18   about September 15, 2021 and December 1, 2021.[1]
 19          51.     As alleged above, LPG was borrowing against its assets and future
 20   income, often on unfavorable terms, not only to finance operations at LPG, but also
 21   to pay the fees owed to the marketing affiliates for providing it with consumer clients.
 22   Pursuant to the agreements with the marketing companies, significant percentages of
 23   future payments were already promised to be paid to the marketing affiliates from
 24   whatever future income the Debtor would receive.
 25          52.     In addition, on Debtor’s Schedule E/F [Bankr. Docket No. 33], Debtor
 26   scheduled 11 unsecured creditors with priority unsecured claims totaling
 27
      [1]
 28      Trustee reserves all rights, claims, and defenses with respect to these and any other purportedly
      secured or unsecured claims.

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  1   $374,060.04. These priority unsecured creditors include Indiana Dept. of Revenue,
  2   Dept. of Labor and Industries, Arizona Dept. of Economic Security, Arkansas Dept.
  3   of Finance & Admin., California Franchise Tax Board, Georgia Dept. of Labor,
  4   Internal Revenue Service, Mississippi Dept. of Revenue, Nevada Dept. of Taxation,
  5   Utah State Tax Commission, and Wisconsin Dept. of Revenue (collectively, “Priority
  6   Unsecured Creditors”).
  7         53.   Another group of creditors that Debtor listed on its Schedule E/F [Bankr.
  8   Docket No. 33] are nonpriority unsecured creditors. Those 58 creditors have
  9   scheduled claims totaling $141,439,158.05 and include Ajilon; Anthem Blue Cross;
 10   Azevedo Solutions Groups, Inc.; Carolina Technologies & Consulting Invoice;
 11   Collaboration Advisors; Credit Reporting Service Inc.; CT Corporation – Inv.; Debt
 12   Pay Pro; Document Fulfillment Services; EnergyCare, LLC; Exela Enterprise
 13   Solutions; First Legal Network, LLC; GHA Technologies Inc.; Harrington Electric,
 14   Inc.; Imagine Reporting; Juize, Inc.; Krisp Technologies, Inc.; Liberty Mutual; Marc
 15   Lemauviel – Allegra; MarkSYS Holdings, LLC; Netsuite-Oracle; Pitney Bowes;
 16   Rapid Credit, Inc.; SBS Leasing A Program of De Lage Landen; Security Solutions;
 17   Sharp Business Systems; Streamline Performance, Inc.; Thomson Reuters; Twilio,
 18   Inc.; Nationwide Appearance Attorneys; Executive Center, LLC; Outsource
 19   Accelerator, Ltd.; TaskUs Holdings, Inc.; Marich Bein, LLC; Validation Partners;
 20   MC DVI Fund 1, LLC; MC DVI Fund 2, LLC; Debt Validation Fund II, LLC; Tustin
 21   Executive Center; LexisNexus; JP Morgan Chase; Business Centers of America;
 22   Michael Schwartz; Anibal Colon Jr.; Kathleen Lacey; David Ulery; Kimberly
 23   Birdsong; Kevin Carpenter; Karen Suell; Gloria Eaton; Carolyn Beech; Debra Price;
 24   Kenneth Topp; Darcey Williamson, Trustee; James Hammett; Johnny Rizo; Beverly
 25   Graham; Kathleen Scarlett; and Geneve and Myranda Sheffield (collectively,
 26   “Nonpriority Unsecured Creditors” and, together with the Secured Creditors and
 27   Priority Unsecured Creditors, “Prepetition Creditors”).
 28   ///

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  1                              FIRST CLAIM FOR RELIEF
  2       Count I - Avoidance, Recovery, and Preservation of Actual Fraudulent
  3                                          Transfers
  4                        [11 U.S.C. §§ 548(a)(1)(A), 550, and 551]
  5         54.    Plaintiff realleges and incorporates here by reference each and every
  6   allegation contained in paragraphs 1 through 53 as though set forth in full.
  7         55.    The Affiliate Agreement, ARPA Agreements, and all or a portion of
  8   the Transfers occurred within the two years prior to the Petition Date.
  9         56.    On or after the date that such agreements were executed and the
 10   Transfers were made, entities to which Debtor was or became indebted include the
 11   Prepetition Creditors.
 12         57.    The Transfers happened while Debtor was insolvent or rendered Debtor
 13   insolvent.
 14         58.    Despite Debtor’s obligation to the Prepetition Creditors, Debtor
 15   continued to pay Defendant sums received from consumers under the Affiliate
 16   Agreement, which constitutes an illegal capping agreement between Defendant and
 17   Debtor. Any obligation of the Debtor arising from such agreement is also avoidable
 18   as fraudulent.
 19         59.    Despite Debtor’s obligation to the Prepetition Creditors, Debtor
 20   continued to sell or transfer portions of its accounts receivable to Defendant, which
 21   is illegal under federal and state laws.
 22         60.    Because the referrals from Defendant to Debtor are illegal under federal
 23   and state law, they are void. Moreover, any purported consideration constitutes
 24   unlawful consideration, which cannot constitute reasonably equivalent value. Thus,
 25   at the time the agreements were executed and the Transfers made, Debtor received
 26   less than reasonably equivalent value.
 27         61.    The Affiliate Agreement, ARPA Agreements, and the Transfers of
 28   Debtor’s funds are avoidable as fraudulent pursuant to 11 U.S.C. §§ 548(a)(1)(A),

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  1   550, and 551 by one or more creditors who held and hold unsecured claims against
  2   Debtor that were and are allowable against his Estate under 11 U.S.C. § 502 or that
  3   were not and are not allowable only under 11 U.S.C. § 502(e), including, without
  4   limitation the Prepetition Creditors.
  5         62.    The Affiliate Agreement, ARPA Agreement, and Transfers should be
  6   avoided as fraudulent under 11 U.S.C. § 548(a)(1)(A), and such transferred property,
  7   or the value thereof, should be recovered and preserved for the benefit of the Estate
  8   pursuant to 11 U.S.C. §§ 550 and 551.
  9                            SECOND CLAIM FOR RELIEF
 10    Avoidance, Recovery, and Preservation of Constructive Fraudulent Transfers
 11                                    Against Defendant
 12                        [11 U.S.C. §§ 548(a)(1)(B), 550, and 551]
 13         63.    Plaintiff realleges and incorporates herein by reference each and every
 14   allegation contained in paragraphs 1 through 53 as though set forth in full.
 15         64.    The Affiliate Agreement, ARPA Agreements, and all or a portion of
 16   the Transfers occurred within the two years prior to the Petition Date.
 17         65.    On or after the date that such agreements were executed and such
 18   Transfers were made, entities to which Debtor was or became indebted include the
 19   Prepetition Creditors.
 20         66.    The Transfers happened while Debtor:
 21                a. was insolvent or became insolvent as a result;
 22                b. was engaged or was about to engage in a transaction for which any
 23                   property remaining with Debtor was of unreasonably small capital;
 24                   or
 25                c. intended to incur, or believed that it would incur, debts beyond its
 26                   ability to pay as such debts matured.
 27         67.    Because the referrals from Defendant to Debtor are illegal under federal
 28   and state law, they are void and subject to avoidance as fraudulent. Any purported

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  1   consideration constitutes unlawful consideration, which cannot constitute reasonably
  2   equivalent value. Thus, at the time the agreements were executed and the Transfers
  3   made, Debtor received less than reasonably equivalent value
  4            68.   Because the sale of the accounts receivable from Debtor to Defendant
  5   are illegal under federal and state law, they are void and subject to avoidance as
  6   fraudulent. Any purported consideration constitutes unlawful consideration, which
  7   cannot constitute reasonably equivalent value. Thus, at the time the agreements were
  8   executed and the Transfers made, Debtor received less than reasonably equivalent
  9   value.
 10            69.   The Affiliate Agreement, ARPA Agreements, and the Transfers should
 11   be avoided as fraudulent under 11 U.S.C. § 548(a)(1)(B), and such transferred
 12   property, or the value thereof, should be recovered and preserved for the benefit of
 13   the Estate pursuant to 11 U.S.C. §§ 550 and 551.
 14                               THIRD CLAIM FOR RELIEF
 15       Avoidance, Recovery, and Preservation of Actual Fraudulent Transfers
 16                                     Against Defendant
 17   [11 U.S.C. §§ 544(b), 550, and 551; CAL. CIV. CODE §§ 3439.04(a) and 3439.07]
 18            70.   Plaintiff realleges and incorporates herein by reference each and every
 19   allegation contained in paragraphs 1 through 53 as though set forth in full.
 20            71.   The Affiliate Agreement, ARPA Agreements, and all or a portion of
 21   the Transfers occurred within the four years prior to the Petition Date.
 22            72.   On or after the date that such agreements were entered and such
 23   Transfers were made, entities to which Debtor was or became indebted include the
 24   Prepetition Creditors.
 25            73.   Despite Debtor’s obligation to the Prepetition Creditors, Debtor
 26   continued to pay Defendant sums received from consumers under the Affiliate
 27   Agreement, which constitutes an illegal capping agreement between Defendant and
 28   Debtor.

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  1         74.    Because the referrals from Defendant to Debtor are illegal under state
  2   and federal law, they are void and subject to avoidance as fraudulent. Any
  3   purported consideration constitutes unlawful consideration, which cannot constitute
  4   reasonably equivalent value. Thus, at the time the agreements were executed and
  5   the Transfers made, Debtor received less than reasonably equivalent value.
  6         75.    Despite Debtor’s obligation to the Prepetition Creditors, Debtor
  7   continued to sell its accounts receivable to Defendant, which is illegal under federal
  8   and state law. Because they are illegal under federal and state law, they are void and
  9   subject to avoidance as fraudulent. Any purported consideration constitutes unlawful
 10   consideration, which cannot constitute reasonably equivalent value. Thus, at the time
 11   the agreements were executed and the Transfers made, Debtor received less than
 12   reasonably equivalent value.
 13         76.    The Affiliate Agreement, the ARPA Agreements, and the Transfers of
 14   Debtor’s funds are avoidable as fraudulent pursuant to 11 U.S.C. § 544(b) and C AL.
 15   CIV. CODE §§ 3439.04(a) and 3439.07 by one or more creditors who held and hold
 16   unsecured claims against Debtor that were and are allowable against his Estate under
 17   11 U.S.C. § 502 or that were not and are not allowable only under 11 U.S.C. § 502(e),
 18   including, without limitation, the Prepetition Creditors.
 19         77.    Accordingly, the Affiliate Agreement, the ARPA Agreements, and the
 20   Transfers should be avoided as fraudulent under 11 U.S.C. §§ 544(b) and C AL. CIV.
 21   CODE §§ 3439.04(a) and 3439.07, and such transferred property, or the value thereof,
 22   should be recovered and preserved for the benefit of the Estate pursuant to 11 U.S.C.
 23   §§ 550 and 551 and CAL. CIV. CODE § 3439.07.
 24   ///
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  1                              FOURTH CLAIM FOR RELIEF
  2    Avoidance, Recovery, and Preservation of Constructive Fraudulent Transfers
  3                                     Against Defendant
  4    [11 U.S.C. §§ 544(b), 550, and 551; CAL. CIV. CODE §§ 3439.05, and 3439.07]
  5            78.   Plaintiff realleges and incorporates herein by reference each and every
  6   allegation contained in paragraphs 1 through 53 as though set forth in full.
  7            79.   The Affiliate Agreement, the ARPA Agreements, and all or a portion
  8   of the Transfers occurred within the four years prior to the Petition Date.
  9            80.   The Transfers happened while Debtor:
 10                  a. was insolvent or became insolvent as a result;
 11                  b. was engaged or was about to engage in a transaction for which any
 12                     property remaining with Debtor was of unreasonably small capital;
 13                     or
 14                  c. intended to incur, or believed that it would incur, debts beyond its
 15                     ability to pay as such debts matured.
 16            81.   Because the referrals from Defendant to Debtor are illegal under federal
 17   and state law, the agreements are void and subject to avoidance as fraudulent. Any
 18   purported consideration constitutes unlawful consideration, which cannot constitute
 19   reasonably equivalent value. Thus, at the time the agreements were executed and the
 20   Transfers made, Debtor received less than reasonably equivalent value.
 21            82.   Because the sale of the accounts receivable from Debtor to Defendant
 22   are illegal under federal and state law, they are void and subject to avoidance as
 23   fraudulent. Any purported consideration constitutes unlawful consideration, which
 24   cannot constitute reasonably equivalent value. Thus, at the time the agreements were
 25   executed and the Transfers made, Debtor received less than reasonably equivalent
 26   value.
 27            83.   The Affiliate Agreement, the ARPA Agreements, and the Transfers of
 28   Debtor’s funds are avoidable as fraudulent pursuant to 11 U.S.C. § 544(b) and C AL.

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  1   CIV. CODE §§ 3439.05 and 3439.07 by one or more creditors who held and hold
  2   unsecured claims against Debtor that were and are allowable against his Estate
  3   under 11 U.S.C. § 502 or that were not and are not allowable only under 11 U.S.C.
  4   § 502(e), including, without limitation, the Prepetition Creditors.
  5           84.     Accordingly, the Affiliate Agreement, the ARPA Agreements, and the
  6   Transfers should be avoided as fraudulent under 11 U.S.C. §§ 544(b) and C AL. CIV.
  7   CODE §§ 3439.05 and 3439.07, and such transferred property, or the value thereof,
  8   should be recovered and preserved for the benefit of the Estate pursuant to 11 U.S.C.
  9   §§ 550 and 551 and CAL. CIV. CODE § 3439.07.
 10                                      FIFTH CLAIM FOR RELIEF
 11                 Avoidance, Recovery, and Preservation of Preferential Transfer to
 12                               Defendant in Preference Period
 13                                  [11 U.S.C. §§ 547, 550, and 551]
 14           85.     Plaintiff realleges and incorporates here by reference each and every
 15   allegation contained in paragraphs 1 through 53 as though set forth in full.
 16           86.     $417,329.34 of the Transfers from Debtor to Defendant occurred during
 17   the 90 day preference period (“Preference Transfers”). See Exhibit 7 incorporated
 18   here.
 19           87.     The Preference Transfers were made for, or on account of, an antecedent
 20   debt or debts owed by the Debtor to Defendant, each of which constituted a “debt” or
 21   “claim” (as those terms are defined in the Bankruptcy Code) of Defendant.
 22           88.     The Preference Transfers happened while LPG was insolvent.
 23           89.     Debtor is also entitled to the presumption of insolvency when the
 24   Preference Transfers happened pursuant to 11 U.S.C. § 547(f).
 25           90.     As a result of the Preference Transfers, Defendant recovered more than
 26   it would have received if: (i) the Debtor’s case was under chapter 7 of the Bankruptcy
 27   Code; (ii) the Preference Transfers had not been made; and (iii) Defendant received
 28   payments of its debts under the provisions of the Bankruptcy Code. As evidenced by

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  1   the Debtor’s schedules filed in the underlying Bankruptcy Case, as well as the proofs
  2   of claim that have been received to date, the Debtor’s liabilities exceed its assets to
  3   the point that unsecured creditors will not receive a full payout of their claims from
  4   the Debtor’s Estate.
  5         91.     In accordance with the foregoing, the Preference Transfers are avoidable
  6   pursuant to 11 U.S.C. § 547(b), and may be recovered and preserved for the benefit
  7   of the estate pursuant to 11 U.S.C. §§ 550 and 551.
  8                               SIXTH CLAIM FOR RELIEF
  9                     Turnover of Estate Property Against Defendant
 10                                      [11 U.S.C. § 542]
 11         92.     Plaintiff realleges and incorporates herein by reference each and every
 12   allegation contained in paragraphs 1 through 53 as though set forth in full.
 13         93.     Defendant has possession or control over property of the Estate in the
 14   form of the Transfers made pursuant to illegal and unenforceable agreements.
 15         94.     The Transfers are not of inconsequential value to the Estate.
 16         95.     The funds that are the subject of the Transfers are paramount to Debtor’s
 17   ability to pay creditors.
 18         96.     Accordingly, Trustee is entitled to a judgment for turnover of the
 19   Transfer pursuant to 11 U.S.C. § 542.
 20                               RESERVATION OF RIGHTS
 21         97.     Plaintiff reserves the right to bring all other claims or causes of action
 22   that Plaintiff may have against Defendant, on any and all grounds, as allowed under
 23   the law or in equity, including but not limited to, those claims not known by the
 24   Trustee at this time but that he may discover during the pendency of this adversary
 25   proceeding.
 26   ///
 27   ///
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  1                                 PRAYER FOR RELIEF
  2               WHEREFORE, Plaintiff prays for a judgment as follows:
  3              On The First, Second, Third, and Fourth Claims for Relief:
  4         1.    Avoiding, recovering, and preserving the Preference Transfers
  5      against Defendant;
  6                            On the Fifth Claim for Relief:
  7         2.    Avoiding, recovering, and preserving the Transfers against
  8      Defendant;
  9                            On the Sixth Claim for Relief:
 10         3.     Ordering Defendant to immediately turn over the Transfers and/or
 11         Preference Transfers;
 12                                 On All Claims for Relief:
 13         4.    Awarding costs of suit incurred here; and
 14         5.    Granting any other and further relief as the Court deems just and
 15   proper.
 16

 17   Dated: December 18, 2023                 Respectfully submitted,
 18                                            DINSMORE & SHOHL LLP
 19
                                               By: /s/ Sarah S. Mattingly
 20                                                   Christopher B. Ghio
                                                      Christopher Celention
 21                                                   Yosina M. Lissebeck
                                                      Sarah S. Mattingly
 22                                                   Special Counsel to Richard A.
                                                      Marshack, Chapter 11 Trustee
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            In re: The Litigation Practice Group PC                                                                 JGW Solutions LLC
            Disbursement Details by Payee
            4 Years Pre-Petition (03/20/2019 - 03/20/2023)

            Bank Name         Account Name                       Account Number Statement Date Transaction Date Check Number   Debit/Charge      Memo
                                                                                                                                                 WTFed#08351 morgan Chase Ban /Ftr/Bnf=Jgw Solutions LLC 9f# 0000960076600725 Trn#23031
            Wells Fargo       Maverick Management Group LLC                          3/31/2023       3/17/2023                    179,229.82     7179496 RIb#
                                                                                                                                                 Book Transfer Debit NC: Jgw Solutions LLC Irvine CA 92612-5647 US Ref: Weekly Disbursement Trn:
            Chase             The Litigation Practice Group PC                       2/28/2023        2/7/2023                      5,626.00     6644800038Jo
                                                                                                                                                 WIRE TYPE:WIRE OUT DATE:230201 TIME:1748 ETTRN2023020100535757 SERVICE REF495415
                                                                                                                                                 BNF:JGW SOLUTIONS LLC 10:863391 006 BNF BKJPMORGAN CHASE BANK. N. 1D0002 PMT
            Bank of America Litigation Practice Group PC                             2/28/2023        2/1/2023                    211,073.78     DET:2CP9L87A9 POP Othe r
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            Chase             The Litigation Practice Group PC                       1/31/2023       1/24/2023                      2,983.32     0550500024Jo
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            Chase             The Litigation Practice Group PC                       1/31/2023       1/24/2023                      9,459.52     0550400024Jo
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            Chase             The Litigation Practice Group PC                       1/31/2023       1/10/2023                      3,792.75     9000i0Jo
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            Chase             The Litigation Practice Group PC                       1/31/2023        1/6/2023                      3,792.75     5800006Jo
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            Chase             The Litigation Practice Group PC                      12/31/2022      12/30/2022                      3,186.14
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            Chase             The Litigation Practice Group PC                      12/31/2022      12/27/2022                      3,811.26     6979800361Jo
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            Chase             The Litigation Practice Group PC                      12/31/2022      12/19/2022                      3,843.34     8056700353Jo
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            Chase             The Litigation Practice Group PC                      12/31/2022       12/9/2022                      2,953.62     6580300343Jo
            Chase             The Litigation Practice Group PC                      12/31/2022       12/5/2022         12281       41,438.96     File Purchase
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            Chase             The Litigation Practice Group PC                      12/31/2022       12/5/2022                      4,966.66     5588900339Jo
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            Chase             The Litigation Practice Group PC                      11/30/2022      11/25/2022                      2,465.96     42231 00329Jo
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            Chase             The Litigation Practice Group PC                      11/30/2022      11/18/2022                      4,552.42     5037800322Jo
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            Chase             The Litigation Practice Group PC                      11/30/2022      11/18/2022                          277.97   5037700322Jo
                                                                                                                                                 Book Transfer Debit NC: Jgw Solutions LLC Irvine CA 92612-5647 US Ret File Purchase Tm: 51
            Chase             The Litigation Practice Group PC                      11/30/2022      11/15/2022                    118,794.96     19700319Jo
                                                                                                                                                 Book Transfer Debit NC: Jgw Solutions LLC Irvine CA 92612-5647 US Ret Weekly Disbursement Tm
            Chase             The Litigation Practice Group PC                      11/30/2022      11/10/2022                      3,501.86     80542003l4Jo
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            Chase             The Litigation Practice Group PC                      11/30/2022       11/9/2022                      1,833.88     4i58000313Jo
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            Chase             The Litigation Practice Group PC                      10/31/2022      10/28/2022                      1,945.11     739360030iJo
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            Chase             The Litigation Practice Group PC                      10/31/2022      10/21/2022                      2,311.99     506i500294Jo
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            Chase             The Litigation Practice Group PC                      10/31/2022      10/14/2022                      3,170.82     6304700287Jo
                                                                                                                                                 Book Transfer Debit A/C: Jgw 5olutions LLC Irvine CA 92612-5647 us Ref: Weekly Disbursement Tm:
            Chase             The Litigation Practice Group PC                      10/31/2022       10/6/2022                      2,351.86     4302200279Jo
                                                                                                                                                 Book Transfer Debit A/C: Jgw Solutions LLC Irvine CA 92612-5647 US Ret: Weekly Disbursement Tm: 41
            Chase             The Litigation Practice Group PC                       9/30/2022       9/30/2022                          234.98   i0400273Jo
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            Chase             The Litigation Practice Group PC                       9/30/2022       9/23/2022                          443.38   3099400266Jo
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            Chase             The Litigation Practice Group PC                       9/30/2022       9/16/2022                      1,423.06     6652500259Jo
                                                                                                                                                 Book Transfer Debit A/C: Jgw Solutions LLC Irvine CA 92612-5647 US Ref: Weekly Disbursement Tm:
            Chase             The Litigation Practice Group PC                       9/30/2022        9/9/2022                          457.91   3460600252Jo




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            Chase             The Litigation Practice Group PC                       9/30/2022        9/2/2022                          335.24   3723900245Jo
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            In re: The Litigation Practice Group PC                                                                 JGW Solutions LLC
            Disbursement Details by Payee
            4 Years Pre-Petition (03/20/2019 - 03/20/2023)

            Bank Name         Account Name                       Account Number Statement Date Transaction Date Check Number   Debit/Charge  Memo
                                                                                                                                             Book Transfer Debit NC: Jgw Solutions LLC Irvine CA 92612-1592 US Ref: Weekly Disbursement Tm:
            Chase             The Litigation Practice Group PC                       8/31/2022       8/26/2022                        634.43 4481500238Jo
                                                                                                                                             Book Transfer Debit NC: Jgw 5olutions LLC Irvine CA 92612-1592 U5 Ref: Weekly Disbursement Tm:
            Chase             The Litigation Practice Group PC                       8/31/2022       8/19/2022                        197.16 2830900231Jo
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                                  ACCOUNTS RECEIVABLE PURCHASE AGREEMENT

        This ACCOUNTS RECEIVABLE PURCHASE AGREEMENT (this “Agreement”) is made as of March 31st, 2023
(the “Agreement Date”), by and between The Litigation Practice Group PC (collectively the “Buyer”), and JGW
Solutions, LLC (the “Seller” or “LPG”, and together with the Buyer, the “Parties”), and The Litigation Practice
Group PC (“LPG”).

                                                      RECITALS

       WHEREAS, in the regular course of business, the Seller originates account receivables from LPG in
connection with client on-boarding services provided by the Seller to LPG and its affiliates;

         WHEREAS, the account receivables represent an obligation of various clients to pay Seller for services that
Seller previously provided, but which LPG shall provide from the date of execution of this Agreement;

       WHEREAS, the Seller desires to sell, assign, transfer, and deliver to the Buyer, and the Buyer desires to
purchase, acquire, and accept from the Seller, certain of these account receivables (the “Purchased Accounts”).

        NOW, THEREFORE, in consideration of the covenants and representations set forth herein, the Parties,
intending to be legally bound, agree as follows:

                                                    ARTICLE 1.
                                                    DEFINITIONS

        Section 1.1      Certain Definitions. Certain defined terms used in this Agreement are set forth on Exhibit
A.

                                             ARTICLE 2.
                               ASSIGNMENT AND TRANSFER AND CONSIDERATION

        Section 2.1     Assignment of the Purchased Accounts to the Buyer. Upon execution of this Agreement
and subject to the terms and conditions set forth herein, the Seller shall sell, assign, transfer, and deliver, and the
Buyer shall purchase, acquire, and accept from the Seller, all of the Seller’s right, title, and interest in and to the
Purchased Accounts set forth on the spreadsheet attached to this Agreement, free and clear of any Liens. Other
than the Purchased Accounts, the Buyer shall not purchase or acquire any other assets of the Seller (collectively,
the “Excluded Assets”).

        Section 2.2      No Assumption of Liabilities. The Buyer shall not assume any Liabilities of the Seller of
any kind, whether known or unknown, contingent, matured, or otherwise, whether currently existing or
hereinafter created (collectively, the “Excluded Liabilities”).

        Section 2.3      Payment of Purchase Price. Buyer shall pay $248,754.80 (total purchase price) for the
Purchased Accounts (the “Purchase Price”) by wire transfer of immediately available funds in accordance with the
wire transfer instructions set forth in Schedule 2.3 (the “Wire Instructions”). The Purchased Accounts are set
forth on the attached spreadsheet.

        Section 2.4      Guarantee of LPG. If any file acquired by buyer shall fail to make a first payment, LPG will
replace the file and bear any cost associated with such replacement. The replacement file shall yield no less than
the receivable of the failed file. In addition, if any any calendar month a total of less than 80% of files make a
cleared payment, LPG shall replace any non-performing files in such month so that the performance of the file




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package as a whole equals 80%. This guarantee shall continue until the completion of the 24 th month following
execution of this agreement.

                                                   ARTICLE 3.
                                    REPRESENTATIONS AND WARRANTIES OF THE SELLER

         The Seller represents and warrants to the Buyer, as of the Agreement Date and as of the Closing Date, or,
if expressly made as of a specified date, as of such specified date, as follows:

         Section 3.1      Organization; Good Standing. The Seller is a Limited Liability Company duly organized,
validly existing, and in good standing under the Laws of the State of Delaware and is duly qualified to do business
and is in good standing as a foreign corporation in each jurisdiction where the ownership or operation of the
Business requires such qualification, except where the failure to be so qualified would not reasonably be expected
to have, individually or in the aggregate, a material adverse effect on the business, results of operations, financial
condition, or assets of the Seller.

         Section 3.2      Power and Authority. The Seller has all requisite right, power, and authority to execute,
deliver, and perform this Agreement and the Transaction Agreements to which it is a party, to consummate the
transactions contemplated hereby and thereby, and to perform its obligations hereunder and thereunder. The
execution and delivery of this Agreement and the Transaction Agreements by the Seller, and the consummation
by the Seller of the transactions contemplated hereby and thereby, have been duly approved by the Seller, and
no further action is required on the part of the Seller to authorize this Agreement, any Transaction Agreement to
which it is a party, or the transactions contemplated hereby and thereby. This Agreement has been, and each of
the Transaction Agreements will be, duly and validly executed and delivered by the Seller and, assuming the due
and valid authorization, execution, and delivery of this Agreement by the other Parties, and of each such
Transaction Agreement by the other parties thereto, constitutes, or will constitute, a valid and binding obligation
of the Seller, enforceable against it in accordance with its terms and conditions, except as enforcement may be
limited by applicable bankruptcy, insolvency, reorganization, moratorium, and other Laws affecting enforcement
of creditor’s rights generally and except insofar as the availability of equitable remedies may be limited by
applicable Law.

        Section 3.3     Title to, and Sufficiency of, the Purchased Accounts. The Seller has and shall convey to
the Buyer, at the Closing, good, valid, transferable, and marketable title to, or valid leasehold interests in, all of
the Purchased Accounts, free and clear of all Liens.

        Section 3.4      Consents. The Seller is not required to give any notice to, make any filing with, or obtain
any authorization, consent, or approval of, any Governmental Body or Third Party, including a party to any
assigned contract, in connection with the execution, delivery, and performance by the Seller of this Agreement or
any of the Transaction Agreements to which it is a party or the consummation of the transactions contemplated
hereby and thereby.

         Section 3.5       No Conflicts. The execution and delivery by the Seller of this Agreement and each of the
Transaction Agreements, and the consummation of the transactions contemplated hereby and thereby, will not
conflict with, result in any violation of, or default under (with or without notice or lapse of time, or both), or give
rise to an additional payment obligation, a right of termination, cancellation, modification, or acceleration of any
obligation, or loss of any benefit, under: (a) any provision of the Organizational Documents of the Seller; (b) any
contract to which the Seller is party, including, without limitation, any assigned contract; or (c) any Law or order
applicable to the Seller or any of the Purchased Accounts.



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       Section 3.6      Compliance with Laws. The Seller has materially complied, and is now materially
complying, with all Laws applicable to the ownership and use of the Purchased Accounts.

         Section 3.7     Legal Proceedings. There is no Action of any nature pending or, to the Knowledge of the
Seller, threatened against or by the Seller: (a) relating to or affecting the Purchased Accounts or (b) that challenges
or seeks to prevent, enjoin, or otherwise delay the transactions contemplated by this Agreement and the
Transaction Agreements. No event has occurred or circumstance exists that may give rise to, or serve as a basis
for, any such Action.

       Section 3.8    Condition of Purchased Accounts. Each Purchased Account shall have received no less
than one processed payment.

          Section 3.9    Confidentiality. Seller agrees and acknowledges that all Purchased Accounts, the pricing,
and all terms set forth in this Agreement are confidential (together, the “Confidential Information”). Seller will
at all times keep the Confidential Information in confidence and trust. Seller will not, without the prior written
consent of an authorized officer of Buyer, (A) copy, use or disclose any Confidential Information, (B) deliver or
disclose any Confidential Information to any person or entity outside the Buyer, or (C) use the Confidential
Information for Seller’s own use or use it to the detriment of Buyer. Notwithstanding the foregoing, Seller may,
without consent, use the Confidential Information and disclose and deliver same to Seller’s employees or agents,
if applicable, who have a need to know, provided such employees or agents have entered into written agreements
approved by Buyer and containing provisions at least as restrictive as these provisions. Seller agrees that violation
of this Section 3.9. The Parties agree that the disclosure of the Confidential Information in violation of this
Agreement may cause the Buyer irreparable harm and that any breach or threatened breach by the Seller entitles
Buyer to seek injunctive relief, in addition to any other legal or equitable remedies available to it, in any court of
competent jurisdiction.

                                                   ARTICLE 4.
                                    REPRESENTATIONS AND WARRANTIES OF THE BUYER

         The Buyer represents and warrants to the Seller, as of the Agreement Date and as of the Closing Date, or,
if expressly made as of a specified date, as of such specified date, as follows:

         Section 4.1      Organization; Good Standing. The Buyer is a limited liability company, duly organized,
validly existing, and in good standing under the Laws of the State of Florida.

         Section 4.2      Power and Authority. The Buyer has all requisite right, power, and authority to execute,
deliver, and perform this Agreement and the Transaction Agreements to which it is a party, to consummate the
transactions contemplated hereby and thereby, and to perform its obligations hereunder and thereunder. The
execution and delivery of this Agreement and the Transaction Agreements by the Buyer, and the consummation
by the Buyer of the transactions contemplated hereby and thereby, have been duly approved by the Buyer, and
no further action is required on the part of the Buyer to authorize this Agreement, any Transaction Agreement to
which it is a party, or the transactions contemplated hereby and thereby. This Agreement has been, and each of
the Transaction Agreements will be, duly and validly executed and delivered by the Buyer and, assuming the due
and valid authorization, execution, and delivery of this Agreement by the other Parties, and of each such
Transaction Agreement by the other parties thereto, constitutes, or will constitute, a valid and binding obligation
of the Buyer, enforceable against it in accordance with its terms and conditions, except as enforcement may be
limited by applicable bankruptcy, insolvency, reorganization, moratorium and other Laws affecting enforcement
of creditor’s rights generally and except insofar as the availability of equitable remedies may be limited by
applicable Law.


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         Section 4.3       No Conflicts. The execution and delivery by the Buyer of this Agreement and each of the
Transaction Agreements, and the consummation of the transactions contemplated hereby and thereby, will not
conflict with, result in any violation of, or default under (with or without notice or lapse of time, or both), or give
rise to an additional payment obligation, a right of termination, cancellation, modification, or acceleration of, any
obligation, or loss of any benefit under: (a) any provision of the Buyer’s Organizational Documents; (b) any
contract to which the Buyer is party, other than the Buyer Representation Agreement; or (c) any Law applicable
to the Buyer.

        Section 4.4    Sufficient Funds. The Buyer has, and will have, sufficient funds available to make payment
of the Purchase Price and consummate the transactions contemplated by this Agreement and the Transaction
Agreements.

                                                      ARTICLE 5.
                                                     COVENANTS
          Section 5.1         Appropriate Actions.

                 (a)     General. Each of the Parties shall use commercially reasonable efforts to take all actions
necessary to consummate the transactions contemplated by this Agreement as soon as reasonably practicable
after the execution of this Agreement, including taking all actions necessary to comply promptly with all applicable
Laws that may be imposed on it or any of its Affiliates with respect to the Closing.

                                                        ARTICLE 6.
                                                        CLOSING

         Section 6.1     Closing. The closing of the transactions contemplated by this Agreement (the “Closing”)
will take place upon the execution and delivery of this Agreement or at such other time, date, and place as the
Parties may agree in writing. The date on which the Closing occurs is hereinafter referred to as the “Closing Date.”
The Parties agree that the Closing may take place by the electronic exchange of executed counterpart documents
and the electronic transfer of funds.

       Section 6.2      Closing Deliverables of the Seller. At or prior to the Closing, Seller shall deliver to Buyer
any of the following if requested by Buyer: (i) a bill of sale and assignment and assumption agreement
substantially in the form attached hereto as Exhibit B (the “Bill of Sale and Assignment and Assumption
Agreement”), duly executed by the Seller, effecting the transfer and assignment to, and assumption by, the Buyer
of the Purchased Accounts; and (ii) such other customary instruments of transfer, assumption, filings, or
documents, in form and substance reasonably satisfactory to the Buyer, as may be required to give effect to this
Agreement.

        Section 6.3      Closing Deliverables of the Buyer. At or prior to the Closing, the Seller shall have
received the following: (i) the Upfront Cash Payment; and (ii) if requested pursuant to Section 6.2, the Bill of Sale
and Assignment and Assumption Agreement, duly executed by the Buyer.

         Section 6.4     Indemnification by the Seller. Subject to the limitations set forth in this Article 6, the
Seller agrees to indemnify and hold harmless the Buyer, including its shareholders, members, directors, managers,
officers, employees, Affiliates, and agents (each, a “Buyer Indemnified Party” and, collectively, the “Buyer
Indemnified Parties”), against all claims, losses, Liabilities, damages, deficiencies, diminutions in value, costs,
interest, awards, judgments, penalties, and expenses, including reasonable out-of-pocket attorneys’ and
consultants’ fees and expenses and including any such reasonable expenses incurred in connection with
investigating, defending against, or settling any of the foregoing (each, a “Loss” and, collectively, the “Losses”)
paid, suffered, incurred, sustained, or accrued by any Buyer Indemnified Party, directly or indirectly, as a result of,

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arising out of, or in connection with: (a) any inaccuracy in, or breach of, any of the representations or warranties
of the Seller contained in this Agreement, (b) any breach or non-fulfillment of any covenant, agreement, or
obligation to be performed by the Seller pursuant to this Agreement, (c) any Excluded Asset or any Excluded
Liability.

        Section 6.5      Indemnification by the Buyer. Subject to the limitations set forth in this Article 6, the
Buyer agrees to indemnify and hold harmless the Seller, including its Affiliates and agents (each, a “Seller
Indemnified Party” and, collectively, the “Seller Indemnified Parties”), against all Losses paid, suffered, incurred,
sustained, or accrued by any Seller Indemnified Party, directly or indirectly, as a result of, arising out of, or in
connection with: (a) any inaccuracy in, or breach of, any of the representations or warranties of the Buyer
contained in this Agreement; (b) any breach or non-fulfillment of any covenant, agreement, or obligation to be
performed by the Buyer pursuant to this Agreement; (c) any event or occurrence related to the Purchased
Accounts or Buyer occurring after the Closing; or (d) resulting from any omissions or misstatements made by Buyer
to investors or potential investors.

          Section 6.6         Indemnification Procedures.

                 (a)      No Restraints. Promptly following receipt by an Indemnified Party of notice by a Third
Party (including any Governmental Body) of any complaint, dispute, or claim or the commencement of any audit,
investigation, Action or proceeding with respect to which such Indemnified Party may be entitled to
indemnification pursuant hereto (a “Third-party Claim”), such Indemnified Party shall provide written notice
thereof to the Indemnifying Party, provided, however, that the failure to so notify the Indemnifying Party shall
relieve the Indemnifying Party from Liability hereunder with respect to such Third-party Claim only if, and only to
the extent that, such failure to so notify the Indemnifying Party results in the forfeiture by the Indemnifying Party
of rights and defenses otherwise available to the Indemnifying Party with respect to such Third-party Claim. The
Indemnifying Party shall have the right, upon written notice delivered to the Indemnified Party within twenty days
thereafter assuming full responsibility for any Losses resulting from such Third-party Claim, to assume the defense
of such Third-party Claim, including the employment of counsel reasonably satisfactory to the Indemnified Party
and the payment of the fees and disbursements of such counsel; provided, however, if the Indemnifying Party
declines or fails to assume the defense of such Third-party Claim on the terms provided above or to employ
counsel reasonably satisfactory to the Indemnified Party, in either case within such twenty day period, then any
Losses shall include the reasonable fees and disbursements of counsel for the Indemnified Party as incurred. In
any Third-party Claim for which indemnification is being sought hereunder the Indemnified Party or the
Indemnifying Party, whichever is not assuming the defense of such Third-party Claim, shall have the right to
participate in such matter and to retain its own counsel at such Party’s own expense. The Indemnifying Party or
the Indemnified Party (as the case may be) shall at all times use reasonable efforts to keep the Indemnifying Party
or Indemnified Party (as the case may be) reasonably apprised of the status of the defense of any matter, the
defense of which it is maintaining, and to cooperate in good faith with each other with respect to the defense of
any such matter.

                  (b)     No Indemnified Party may settle or compromise any Third-party Claim or consent to the
entry of any judgment with respect to which indemnification is being sought hereunder without the prior written
consent of the Indemnifying Party (which may not be unreasonably withheld or delayed), unless (i) the
Indemnifying Party fails to assume and maintain the defense of such Third-party Claim or (ii) such settlement,
compromise, or consent includes an unconditional release of the Indemnifying Party and its officers, directors,
employees and Affiliates from all Liability arising out of, or related to, such Third-party Claim. An Indemnifying
Party may not, without the prior written consent of the Indemnified Party, settle or compromise any Third-party
Claim or consent to the entry of any judgment with respect to which indemnification is being sought hereunder
unless such settlement, compromise, or consent (A) includes an unconditional release of the Indemnified Party
and its officers, directors, employees, and Affiliates from all Liability arising out of, or related to, such Third-party
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Claim, (B) does not contain any admission or statement suggesting any wrongdoing or Liability on behalf of the
Indemnified Party, and (C) does not contain any equitable order, judgment, or term that in any manner affects,
restrains, or interferes with the business of the Indemnified Party or any of the Indemnified Party’s Affiliates.

                 (c)     If an Indemnified Party claims a right to payment pursuant hereto with respect to any
matter not involving a Third-party Claim (a “Direct Claim”), such Indemnified Party shall send written notice of
such claim to the appropriate Indemnifying Party (each, a “Notice of Claim”). Such Notice of Claim shall specify
the basis for such Direct Claim. The failure by any Indemnified Party so to notify the Indemnifying Party shall not
relieve the Indemnifying Party from any Liability that it may have to such Indemnified Party with respect to any
Direct Claim made pursuant to this Section 6.6(c). If the Indemnifying Party does not notify the Indemnified Party
within thirty days following its receipt of such Notice of Claim that the Indemnifying Party disputes its Liability to
the Indemnified Party under this Article 6 or the amount thereof, the Direct Claim specified by the Indemnified
Party in such Notice of Claim shall be conclusively deemed a Liability of the Indemnifying Party under this Article
6, and the Indemnifying Party shall pay the amount of such Liability to the Indemnified Party on demand or, in the
case of any Notice of Claim in which the amount of the Direct Claim (or any portion of the Direct Claim) is
estimated, on such later date when the amount of such Direct Claim (or such portion of such Direct Claim)
becomes finally determined. In the event that the Indemnifying Party has timely disputed its Liability with respect
to such Direct Claim as provided above, as promptly as possible, such Indemnified Party and the appropriate
Indemnifying Party shall establish the merits and amount of such Direct Claim (by mutual agreement, litigation,
arbitration or otherwise) and, within five business days following the final determination of the merits and amount
of such Direct Claim, the Indemnifying Party shall pay to the Indemnified Party an amount equal to such Direct
Claim as determined hereunder.

                                                    ARTICLE 7.
                                                  MISCELLANEOUS

         Section 7.1     Entire Agreement; Amendment. This Agreement and the Transaction Agreements
(including the exhibits hereto and thereto and the documents referred to therein) constitute the entire agreement
among the Parties with respect to the subject matter hereof and supersede any prior understandings, agreements,
or representations by or among the Parties, written or oral, to the extent they related in any way to the subject
matter hereof. This Agreement may be amended with the written consent of each of the Parties or any successor
thereto by execution of an instrument in writing.

        Section 7.2     Waivers. The rights and remedies of the Parties to this Agreement are cumulative and
not alternative. To the maximum extent permitted by applicable Law: (a) no claim or right arising out of this
Agreement or the documents referred to in this Agreement can be discharged by one Party, in whole or in part,
by a waiver or renunciation of the claim or right unless in writing signed by the other Parties; (b) no waiver that
may be given by a Party will be applicable except in the specific instance for what it is given; and (c) no notice to,
or demand on, one Party will be deemed to be a waiver of any obligation of such Party or of the right of the Party
giving such notice or demand to take further action without notice or demand as provided in this Agreement or
the Transaction Agreements.

        Section 7.3      Notices. All notices and other communications required or permitted hereunder shall be
made to the address of a Party listed on the signature page to this Agreement and shall be (a) in writing, (b)
effective when given, and (c), in any event, deemed to be given upon receipt or, if earlier: (i) upon delivery, if
delivered by hand; (ii) two business days after deposit with FedEx Express or similar recognized international
overnight courier service, freight prepaid; or (iii) one business day after facsimile or electronic mail transmission.
A Party may change the address to which notices, requests, demands, claims, and other communications
hereunder are to be delivered by giving the other Parties advance written notice pursuant to the provisions above.

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         Section 7.4     Successors and Assigns. This Agreement shall be binding upon, and inure to the benefit
of, the Parties named herein and their respective successors and permitted assigns. Neither this Agreement nor
any rights or obligations of a Party hereunder shall be assigned by a Party (unless to an Affiliate of such Party)
without the prior written consent of the other Parties. This Agreement will be binding upon any permitted
assignee of any Party. No assignment shall have the effect of relieving any Party to this Agreement of any of its
obligations hereunder.

        Section 7.5   Public Disclosure. Except as may be required by Law, the Seller shall not issue any
statement or communication to any Third Party (other than its respective agents) regarding the subject matter of
this Agreement or the transactions contemplated hereby, including, if applicable, the termination of this
Agreement and the reasons therefor, without the prior written consent of the Buyer.

        Section 7.6      Expenses and Fees. Whether or not the Closing occurs, all fees and expenses incurred in
connection with this transactions contemplated by this Agreement, including all legal, accounting, financial
advisory, consulting and all other fees and expenses of Third Parties incurred by a Party in connection with the
negotiation and effectuation of the terms and conditions of this Agreement and the transactions contemplated
hereby, shall be the obligation of the respective Party incurring such fees and expenses.

         Section 7.7     Specific Performance. The Parties agree that irreparable damage would occur if any provision
of this Agreement was not performed in accordance with the terms hereof and that the Parties shall be entitled to
specific performance of the terms hereof, in addition to any other remedy to which they are entitled hereunder, at Law
or in equity.

        Section 7.8     Counterparts. This Agreement may be executed in counterparts, each of which shall be
deemed an original, but all of which together shall be deemed to be one and the same agreement. A signed copy
of this Agreement delivered by facsimile, electronic mail, or other means of electronic transmission shall be
deemed to have the same legal effect as delivery of an original signed copy of this Agreement.

       Section 7.9     Governing Law. This Agreement shall, in all respects, be construed in accordance with,
and governed by, the Laws of the State of California without regard to conflict of Laws principles.

         Section 7.10     Severability. Any term or provision of this Agreement that is invalid or unenforceable in
any situation in any jurisdiction shall not affect the validity or enforceability of the remaining terms and provisions
hereof or the validity or enforceability of the offending term or provision in any other situation or in any other
jurisdiction.

        Section 7.11    Construction. The Parties have participated jointly in the negotiation and drafting of this
Agreement. In the event an ambiguity or question of intent or interpretation arises, this Agreement shall be
construed as if drafted jointly by the Parties and no presumption or burden of proof shall arise favoring or
disfavoring any Party by virtue of the authorship of any of the provisions of this Agreement.




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   IN WITNESS WHEREOF, the Parties have executed this Agreement as of the Agreement Date.

                                                  BUYER:

                                                  The Litigation Practice Group P.C.


                                                  By: _____________________________
                                                       Name: Daniel S March
                                                       Title: Managing Shareholder



                                                  SELLER:

                                                  JGW Solutions LLC



                                                  By:
                                                        Name: Jon Jenkins
                                                        Title: CEO




                           APPROVAL OF ASSIGNMENT AND GUARANTEE

            The assignment of the Purchased Accounts set forth in this Agreement as well as the guarantee
   included therein is hereby approved, and with respect to the Purchased Accounts, the Buyer shall have all
   rights of Buyer as set forth in this agreement.


                                                  The Litigation Practice Group P.C.



                                                  By:
                                                        Name: Daniel S. March
                                                        Title: Managing Shareholder




                          [Signature Page to Accounts Receivable Purchase Agreement]


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                                                        EXHIBIT A

                                                      DEFINITIONS

        As used in this Agreement, the following terms have the following meanings (terms defined in the singular
to have a correlative meaning when used in the plural and vice versa).

                 (a)     “Action” shall mean any civil, criminal, or administrative action, claim, suit, demand,
charge, citation, reexamination, opposition, interference, decree, injunction, mediation, hearing, notice of
violation, demand letter, litigation, proceeding, labor dispute, arbitral action, governmental or other audit,
inquiry, criminal prosecution, investigation, unfair labor practice charge, or complaint.

                 (b)      “Agreement” shall have the meaning set forth in the preamble to this Agreement.

                 (c)      “Agreement Date” shall have the meaning set forth in the preamble to this Agreement.

                 (d)      “Affiliate” shall mean (i) with respect to any non-natural Person, any Person that, directly
or indirectly, through one or more intermediaries, controls, is controlled by, or is under common control with,
such Person and (ii), with respect to any individual, (A) family members of such individual, by blood, adoption, or
marriage, (B) such individual’s spouse or ex-spouse and (C) any Person that is directly or indirectly under the
control of any of the foregoing individuals. For purposes of this definition, “control” (including with correlative
meanings, the terms “controlling,” “controlled by,” and under “common control with”) means the possession,
directly or indirectly, of the power to direct the management and policies of a Person, whether through the
ownership of voting securities, by contract, or otherwise.

                 (e)      “Bill of Sale and Assignment and Assumption Agreement” shall have the meaning set
forth in Section 6.2.

                 (f)      “Business” shall mean the business of the Seller as conducted on the Agreement Date.

                 (g)      “Buyer” shall have the meaning set forth in the preamble to this Agreement.

                 (h)      “Buyer Indemnified Parties” shall have the meaning set forth in Section 6.4.

                 (i)       “Closing” shall have the meaning set forth in Section 6.1.

                 (j)       “Closing Date” shall have the meaning set forth in Section 6.1.

                 (k)       “Direct Claim” shall have the meaning set forth in Section 6.6(c).

                 (l)       “Excluded Assets” shall have the meaning set forth in Section 2.1.

                 (m)      “Excluded Liabilities” shall have the meaning set forth in Section 2.2.

                   (n)      “Governmental Body” shall mean any: (i) nation, province, state, county, city, town,
village, district, or other jurisdiction of any nature; (ii) federal, provincial, state, local, municipal, foreign, or other
government; (iii) governmental or quasi-governmental authority of any nature (including any governmental
agency, branch, department, official, or entity and any court or other tribunal); (iv) multi-national organization or
body; or (v) body exercising, or entitled to exercise, any administrative, executive, judicial, legislative, police,
regulatory, or taxing authority or power of any nature.




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                 (o)       “Indebtedness” means, without duplication and with respect to the Seller, all: (i)
indebtedness for borrowed money; (ii) obligations for the deferred purchase price of property or services, (iii) long
or short-term obligations evidenced by notes, bonds, debentures or other similar instruments; (iv) obligations
under any interest rate, currency swap, or other hedging agreement or arrangement; (v) capital lease obligations;
(vi) reimbursement obligations under any letter of credit, banker’s acceptance or similar credit transactions; (vii)
guarantees made by the Seller on behalf of any third party in respect of obligations of the kind referred to in the
foregoing clauses (i) through (vi); and (viii) any unpaid interest, prepayment penalties, premiums, costs and fees
that would arise or become due as a result of the prepayment of any of the obligations referred to in the foregoing
clauses (i) through (vii).

                (p)    “Indemnified Party” shall mean a Buyer Indemnified Party or a Seller Indemnified Party,
as the case may be, making a claim for indemnification under Article 6.

               (q)      “Indemnifying Party” shall mean a Party against whom a claim for indemnification is
asserted under Article 6.

                  (r)       “Knowledge” shall mean, with respect to the Seller, the actual or constructive knowledge
of all facts relevant to this transaction and the transacting parties, after due inquiry.

                 (s)    “Law” shall mean any law, statute, ordinance, regulation, rule, code, notice requirement,
court decision, or agency guideline, of any foreign, federal, state, or local Governmental Body.

                (t)       “Liabilities” shall mean any direct or indirect liability, Indebtedness, obligation,
commitment, expense, claim, deficiency, guaranty, or endorsement of, or by, any Person of any type, known or
unknown, and whether accrued, absolute, contingent, matured, unmatured, determined or undeterminable, on-
or off-balance sheet, or other.

               (u)      “Lien” shall mean any mortgage, pledge, lien, charge, claim, security interest, adverse
claims of ownership or use, restrictions on transfer, defect of title, or other encumbrance of any sort.

                (v)      “Losses” shall have the meaning set forth in Section 6.4.

                (w)      “Notice of Claim” shall have the meaning set forth in Section 6.6(c).

                  (x)   “Organizational Documents” shall mean, with respect to a Person, the charter, bylaws,
limited liability company agreement, and other organizational documents of such Person, in each case, as
amended.

                (y)      “Party” or “Parties” shall have the meaning set forth in the preamble to this Agreement.

                (z)      “Permitted Liens” shall mean (i) Liens for Taxes not yet delinquent or being contested in
good faith by appropriate proceedings, (ii) statutory Liens (including materialmen’s, warehousemen’s, mechanic’s,
repairmen’s, landlord’s, and other similar Liens) arising in the ordinary course of business securing payments not
yet delinquent or being contested in good faith by appropriate proceedings, and (iii) restrictive covenants,
easements, and defects, imperfections or irregularities of title, if any, of a nature that do not materially and
adversely affect the assets or properties subject thereto.

                (aa)    “Person” shall mean any individual, corporation (including any non-profit corporation),
general or limited partnership, limited liability company, joint venture, estate, trust, association, organization,
labor union, Governmental Body, or other entity.




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                 (bb)    “Purchase Price” shall have the meaning set forth in Section 2.3.

                 (cc)    “Purchased Accounts” shall have the meaning set forth in the Recitals.

                 (dd)    “Seller” shall have the meaning set forth in the preamble to this Agreement.

                 (ee)    “Seller Indemnified Parties” shall have the meaning set forth in Section 6.5.

                (ff)    “Tax” or “Taxes” shall mean any U.S. federal, state, local or non-U.S. income, gross
receipts, license, payroll, employment, excise, severance, stamp, occupation, premium, windfall profits,
environmental, customs duties, capital stock, escheat, franchise, profits, withholding, social security,
unemployment, disability, real property, personal property, sales, use, transfer, registration, value added,
alternative or add-on minimum, estimated, or other tax of any kind whatsoever, including any interest, penalty,
or addition thereto, whether disputed or not.

               (gg)   “Tax Returns” means any return, declaration, report, claim for refund, or information
return or statement relating to Taxes, including any schedule or attachment thereto, and including any
amendment thereof.

                  (hh)   “Third Party” or “Third Parties” shall mean any Person other than the Parties or their
respective Affiliates.

                 (ii)    “Third-party Claim” shall have the meaning set forth in Section 6.6(a).

              (jj)     “Transaction Agreements” shall mean the Bill of Sale and Assignment and Assumption
Agreement, and each other agreement, instrument, and/or certificate contemplated by this Agreement or such
other agreements to be executed in connection with the transactions contemplated hereby or thereby.

                 (kk)    “Upfront Cash Payment” shall have the meaning set forth in Section 2.3.

                 (ll)    “Wire Instructions” shall have the meaning set forth in Section 2.3.




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                                                          EXHIBIT B

                      FORM OF BILL OF SALE AND ASSIGNMENT AND ASSUMPTION AGREEMENT

        THIS BILL OF SALE AND ASSIGNMENT AND ASSUMPTION AGREEMENT (this “Agreement”), is made by and
between Buyer, and Seller. Each of the Seller and the Buyer are sometimes referred to herein, individually, as a
“Party” and, collectively, as the “Parties.”

         WHEREAS, the Buyer and the Seller have entered into that certain Accounts Receivable Purchase
Agreement, of even date herewith (the “Purchase Agreement”), pursuant to which the Seller has agreed to sell,
assign, transfer, and deliver to the Buyer, and the Buyer has agreed to purchase, acquire, and accept from the
Seller, all right, title, and interest of the Seller in and to the Purchased Accounts, free and clear of any Liens.

        NOW, THEREFORE, in consideration of the covenants and representations set forth herein, and for other
good and valuable consideration, the receipt and adequacy of which are hereby acknowledged, the Parties,
intending to be legally bound, agree as follows:

       1.      Defined Terms. Capitalized terms used but not otherwise defined in this Agreement shall have
the meanings assigned to such terms in the Purchase Agreement.

        2.        Sale of Purchased Accounts; Assignment. The Seller hereby sells, assigns, transfers, and delivers
to the Buyer, and the Buyer hereby purchases, acquires, and accepts from the Seller, all right, title, and interest
of the Seller in and to the Purchased Accounts, free and clear of any Liens.

        3.     Further Assurances. Each of the Parties agrees, from time to time, at the request of the any other
Party, to execute and deliver such other instruments of conveyance, power of attorney, sale, transfer, or
assignment and take such other actions as such other Party may reasonably request in order to more effectively
consummate the transactions contemplated by this Agreement.

        4.      Terms of the Purchase Agreement. This Agreement is intended to evidence the consummation of
the transactions contemplated by the Purchase Agreement and is subject to the terms and conditions set forth in
the Purchase Agreement. The terms of the Purchase Agreement, including, but not limited to, the
representations, warranties, covenants, agreements, and indemnities relating to the Purchased Accounts are
incorporated herein by this reference. The Parties acknowledge and agree that the representations, warranties,
covenants, agreements, and indemnities contained in the Purchase Agreement shall not be superseded hereby
but shall remain in full force and effect to the full extent provided therein. In the event of any conflict or
inconsistency between the terms of the Purchase Agreement and the terms hereof, the terms of the Purchase
Agreement shall govern.

        5.       Counterparts. This Agreement may be executed in counterparts, each of which shall be deemed
an original, but all of which together shall be deemed to be one and the same agreement. A signed copy of this
Agreement delivered by facsimile, electronic mail, or other means of electronic transmission shall be deemed to
have the same legal effect as delivery of an original signed copy of this Agreement.

                                         [Remainder of page intentionally left blank.]




Accounts Receivable Purchase Agreement
Exhibit B – Bill of Sale
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          IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date first above written.



                                                     BUYER: The Litigation Practice Group P.C.




                                                     By: _____________________________
                                                          Name: Daniel S. March
                                                          Title: Managing Shareholder



                                                     SELLER:

                                                     JGW Solutions LLC



                                                     By:
                                                           Name: Jon Jenkins
                                                           Title: CEO




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                                                   Schedule 2.3
                                                  Wire Instructions

$248,754.80

Account Holder Name: JGW Solutions LLC

Address: 60 Palatine , Apt 215 Irvine, CA 92612

Routing Number: 322271627

Account Number: 863391006




Accounts Receivable Purchase Agreement
Schedule 2.3 – Wire Instructions
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  1                                  EXHIBIT “7”

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                                                                    EXHIBIT 7
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            In re: The Litigation Practice Group PC                                                     JGW Solutions LLC
            Disbursement Details by Payee
            90 Days Pre-Petition (12/20/2022 - 03/20/2023)
            Bank Name         Account Name                       Account Number Statement Date Transaction Date Check Number   Debit/Charge  Memo
                                                                                                                                             WTFed#08351 morgan Chase Ban /Ftr/Bnf=Jgw Solutions LLC 9f#
            Wells Fargo       Maverick Management Group LLC                          3/31/2023       3/17/2023                    179,229.82 0000960076600725 Trn#23031 7179496 RIb#
                                                                                                                                             WIRE TYPE:WIRE OUT DATE:230201 TIME:1748 ETTRN2023020100535757
                                                                                                                                             SERVICE REF495415 BNF:JGW SOLUTIONS LLC 10:863391 006 BNF
            Bank of America Litigation Practice Group PC                             2/28/2023        2/1/2023                    211,073.78 BKJPMORGAN CHASE BANK. N. 1D0002 PMT DET:2CP9L87A9 POP Othe r
                                                                                                                                             Book Transfer Debit NC: Jgw Solutions LLC Irvine CA 92612-5647 US Ret
            Chase             The Litigation Practice Group PC                       1/31/2023       1/24/2023                      2,983.32 Weekly Disbursement Tm: 0550500024Jo
                                                                                                                                             Book Transfer Debit NC: Jgw Solutions LLC Irvine CA 92612-5647 US Ret
            Chase             The Litigation Practice Group PC                       1/31/2023       1/24/2023                      9,459.52 Weekly Disbursement Tm: 0550400024Jo
                                                                                                                                             Book Trsnster Debit NC: Jgw solutions LLC Irvine CA 92612-5647 us Ret
            Chase             The Litigation Practice Group PC                       1/31/2023       1/10/2023                      3,792.75 Weekly Disbursement Tm: 4991 9000i0Jo
                                                                                                                                             Book Transter Debit NC: Jgw Solutions LLC Irvine CA 92612-5647 US Ret
            Chase             The Litigation Practice Group PC                       1/31/2023        1/6/2023                      3,792.75 Weekly Diabursement Tm: 471 5800006Jo
                                                                                                                                             Book Transfer Debit NC: Jgm Solutions LLC Irvine CA 92612-5647 US Ret
                                                                                                                                                                                                                                             Case 8:23-bk-10571-SC




            Chase             The Litigation Practice Group PC                      12/31/2022      12/30/2022                      3,186.14 Weekly Disbursement Tm: 5586900364J0
                                                                                                                                             Book Transfer Debit NC: Jgw Solutions LLC Irvine CA 92612-5647 US Ret
            Chase             The Litigation Practice Group PC                      12/31/2022      12/27/2022                      3,811.26 Weekly Disbursement Tm: 6979800361Jo
                                                                                                                                  417,329.34
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                                                                                                 DRAFT FORM - SUBJECT TO CHANGE
